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                       Exhibit 9
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          Infringement Claim Chart for U.S. Pat. No. US7269253B1 v. Rent-a-Wreck
                                       (“Defendant”)
   Claim 10                                            Evidence
10. A           The Rent-a-wreck Customer Service performs a method for communicating in a
communication   communication network.
s method
comprising:     For Example, Rent-a-wreck Customer Service performs a method of communicating by
                establishing, over a communication network, a call between callers with a request to the
                appropriate department for assistance.




                Source: https://www.rentawreck.com/contact.htm
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                  Source: https://www.rentawreck.com/helpful-information.htm




                  Source: https://www.rentawreck.com/initchat.html

(a) receiving a   The Rent-a-Wreck Customer Service receives a plurality of communications, each having
plurality of      associated classification information.
communications
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, each having     For example, Rent-a-Wreck Customer Service receives calls from multiple callers. For
associated        each call, a user provides information about the nature of the call by selecting the
classification    appropriate department from the given choices via keypad entry. The responses are
information;      used to classify the call.




                  Source: https://www.rentawreck.com/contact.htm
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                    Source: https://www.rentawreck.com/helpful-information.htm




                    Source: https://www.rentawreck.com/initchat.html
(b) storing         The Rent-a-wreck Customer Service maintains information about potential targets that
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information         includes support agents, departments, or specific resources capable of handling different
representing        types of inquiries.
characteristics
of at least three   For example, Rent-a-wreck Customer Service stores information about the skill set
potential           possessed by agents who are potential targets of the call. The company employs
targets; and        numerous agents, at least three of which possess the skill set required by the call.




                    Source: https://www.rentawreck.com/contact.htm
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                   Source: https://www.rentawreck.com/helpful-information.htm




                   Source: https://www.rentawreck.com/initchat.html

(c) determining,   The Rent-a-wreck Customer Service determines an optimum target for each
in a               communication based on the communication classification and target characteristics
combinatorial      using a combinatorial optimization comparing at least three potential targets.
optimization, an
optimum target     For example, Rent-a-wreck Customer Service analyses the caller selection to determine
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for each           one or more skills that an agent who is selected to receive the call should have in order
communication      to provide the caller with the requested assistance. The system directs the complaints to
based on the       the team of Rent-a-Wreck directly by filing it to the complaintsboard.com (i.e.,
communication      combinatorial optimization).
classification,
and target
characteristics.




                   Source: https://www.rentawreck.com/contact.htm
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      Source: https://www.rentawreck.com/helpful-information.htm




      Source: https://www.rentawreck.com/initchat.html
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      Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts
